         Case 1:20-cv-00116-CRH Document 21 Filed 11/19/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

William and Phyllis Owan,                     )
                                              )
               Plaintiffs,                    )       ORDER
                                              )
       vs.                                    )
                                              )
Equinor Energy LP,                            )       Case No. 1:20-cv-116
                                              )
               Defendant.                     )


       On November 19, 2021, the parties filed a stipulation to continue the final pretrial conference

and trial in this case. The court ADOPTS the parties’ stipulation (Doc. No. 20). The final pretrial

conference on November 30, 2021, shall be rescheduled for October 4, 2022, at 9:00 AM by

telephone. To participate in the conference, the parties should call (877) 810-9415 and enter access

code 8992581. The bench trial on December 13, 2021, shall be rescheduled for October 17, 2022,

at 9:00 AM in Bismarck (courtroom #2). A four (4) day trial is anticipated. The present scheduling

order shall be vacated. The parties shall submit a revised scheduling and discovery plan by March

4, 2022, for the court's consideration to ndd_J-Hochhalter@ndd.uscourts.gov.

       IT IS SO ORDERED.

       Dated this 19th day of November, 2021.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court
